
Haems, J.,
delivered the opinion of theCourt
The defendant was indicted in the Circuit Court of Blount county, and on motion, the indictment was quashed by the Court, and the Attorney General on behalf of the State, has appealed in error to this Court The indictment, in substance, charges that defendant, at a public election, having unlawful weapons concealed about his person, for the unlawful purpose of provoking one Hiram Bogle to commit a breach of the peace, did publicly, in the presence and hearing of said Bogle, and divers other good citizens, utter and publish the following unlawful words, to wit: “ Lord Bulldog Bogle is a liar himself, and induces others to swear lies for him, by any means whatever.” “You, (meaning said Bogle,) got Doctor Porter to swear a lie for you. Mary Bogle swore a lie for you;” (Mary Bogle being a sister of said Hiram Bogle,) and other insulting and provoking language, then and there did utter unlawfully, with the intent to provoke him, (the said Hiram Bogle,) to commit a breach of the peace, and to commit an assault on him, the said Taylor, &amp;c. The only question is, was this indictment properly quashed? We think it was. •“ Mere quarrelsome words ” are not a punishable of-fence.”—4 Blackstone, 107. “ Mere words, such as ■calling a man a liar, or a knave, are not necessarily -criminal.”—4 Blackstone top page 110, note seventeen; 2 Raymond 1029; 6 East 470.
Let the judgment be affirmed.
